 1
        ANTHONY H. MASON
 2
           CHAPTER 7 TRUSTEE
              PO BOX 27028
 3      TEMPE, ARIZONA 85285-7028
             (602) 808-7770
 4
                        IN THE UNITED STATES BANKRUPTCY COURT
 5

 6                               FOR THE DISTRICT OF ARIZONA

 7    In re:                                              Chapter 7
 8
      MICHAEL N DESVIGNE                                  Case No. 2:18-bk-04969-EPB
 9
                                                          NOTICE OF TRUSTEE’S INTENT TO
10                                                        ABANDON PROPERTY
11
                            Debtor.

12      NOTICE IS GIVEN THAT Anthony H. Mason, Trustee, proposes to abandon the

13   following-described property on the grounds that it is burdensome and of inconsequential value
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     to the estate: the real properties located at 30718 N. 126th Lane, Peoria, AZ 85383; 10517
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     Front Beach Rd, #402-4, Panama City Beach, FL; and 10517 Front Beach Rd., 502-4, Panama
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17   City Beach, FL.

18      Any person opposing the abandonment shall file a written objection within twenty-one (21)
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     days of the date of mailing of this Notice with the Clerk of the United States Bankruptcy Court,
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     230 N 1st Avenue, Suite 101, Phoenix, Arizona 85003. A copy of the objection shall be mailed
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22   forthwith to the Trustee at the following address: Anthony H. Mason, PO Box 27028, Tempe,

23   Arizona 85285-7028.
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        If a party in interest timely objects to the abandonment in writing and requests a hearing, the
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     matter will be placed on the calendar to be heard by a United States Bankruptcy Judge. If there
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27   is no timely written objection and request for hearing filed, no hearing will be held and the

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     property will be deemed abandoned without a court order having been entered.
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 2          DATED this 21st day of August 2018.

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 4
                                                  /s/ Anthony H. Mason
                                                  Anthony H Mason, Trustee
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